Case 1:19-cr-00018-ABJ Document 31-1 Filed 02/13/19 Page 1 of 1

mM alicmicmaal- mW e)gem Moame(-i40[alemice)samelelme lO) alam mi (ed(ol- mi ialemst-)\omal-Mcr-\ Wale
lat=]0) el=1a\=e Pam pal Qa ar-1 an ZOlU Ms al-r-1

(Oxeyahilanatcve|

1DYoMVolU In <nle\wan Uar= Meant] ae (-s-er- lave Mmm ar=\ Van e-l (0 (Le alicm alelUli-v¢

eam lam sal-w-lle oXela melamea\vaic-\yaelU lee) mee) al co)ar-M ols [al-iciomeg| oN olU] a M[ULcie
foTo}axo)ammdatom e)(-lar-mr-1a(om Maal al-t-lel|alem Com alicm alolUlsy-m ale) Al ml SM UIKMer-]I(-10 Maal)
folat-Maniialelcom-|ac-lMn ele mer-]|{-e|

(efoXefo dalla Mism m=] c-t-Ke NM allow cle ae) a

AN (We To} ar- Wu ol gS c-1(-1-|\- me) tn SL OL@)

MMV TAeleyLoloyiialier-le

Wi a\-)e-Mom arom lavel(oidanlciale

=i au aa\om dae) LmnYole NUT lalen Comoro) nalant-laiecola im dal-Miare|(oidun(-)alemcle) sd avon ol-)
of =¥-] 4-1 ame) im oy-Lo Matz) dal iomnnlelaalialep

